                                    UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON

 In re                                         )   Case No.     11-39884-tmb7
Melody D. Taylor                               )
                                               )   Notice of Motion
                                               )   For Avoidance of Lien
                                               )   Pursuant to 11 U.S.C. § 522(f)
                                               )
 Debtor(s)                                     )

 The attached motion was filed on behalf of the debtor(s) to avoid a lien pursuant to 11 U.S.C.
 § 522(f). The name and address of the debtor(s)’ attorney (or debtor(s), if no attorney) are:
 Ted A. Troutman
 5075 SW Griffith Drive, Suite 220
 Beaverton OR 97005
 If you wish to resist the motion you must, within 14 days of the service date shown below, file the
 following with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204 or 405 E 8th Ave. #2600, Eugene
 OR 97401:

     1) a written objection, setting forth the specific grounds for the objection; and

     2) a certificate showing the response has been served on the person named above.

If no timely response is filed, the court may sign an order submitted by the debtor(s) granting the motion.

                                           Certificate of Service

Note: Service must be made pursuant to Federal Rule of Bankruptcy Procedure 7004 (e.g., 7004(b)(3)
for corporations and 7004(h) for insured depository institutions).

 I certify on 07/31/2019 this notice, the motion, and LBF 717.15 if this notice was served on paper,
 were served on the trustee, U.S. Trustee, and all other parties named in the motion, whose names and
 addresses are listed below:
 Asset Systems, Inc., c/o Michael G. Schindler, Registered Agent, 4520 SE Belmont Street, Suite
 280, Portland OR 97215 (sent via Certified Mail - Return Receipt Requested & regular First Class
 mail)


                               _____________________________________________________________
                               /s/ Ted A. Troutman                                             844470
                               Signature                                                 OSB # (if attorney)
                               POB 249 Gresham OR 97030 (5177)                                           __
                               Debtor(s) address (if not provided above) and last 4 digits of Taxpayer ID #

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                                 UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF OREGON

In re                                       ) Case No.       11-39884-tmb7
Melody D. Taylor                            )
                                            ) MOTION TO AVOID JUDICIAL LIEN ON
                                            ) REAL PROPERTY PURSUANT TO
Debtor(s)                                   ) 11 U.S.C. § 522(f)(1)(A)

Pursuant to 11 U.S.C. § 522(f)(1)(A), Debtor moves to avoid a judicial lien on real property referenced
below, and alleges as follows:

1. Name and address of lienholder whose lien is to be avoided:

    Asset Systems, Inc., c/o Michael G. Schindler, Registered Agent, 4520 SE Belmont Street,
    Suite 280, Portland OR 97215

2. The nature of the judicial lien and the date upon which the lien was obtained (include case name,
   number, county, state, date in which judgment was docketed, and transcription information, if
   appropriate):
    Asset Systems Inc v Melody D Taylor, Multnomah County Circuit Court Case No.
    040808975, Multnomah County, Oregon, date entered 10/12/2004

3. Description and address (attach exhibit if necessary) of real property to which judicial lien attaches:
    115 NE 10th Drive, Gresham OR 97030
    Legal Description: SECTION 10 1S 3E, TL 1000 1.04 ACRES


4. Date petition filed:    11/17/2011

5. Fair market value of real property as of petition date: $      214,290        (debtor's 1/2 interest)

6. Name(s) and amount(s) of all senior lienholder(s):
    Wells Fargo Bank $199,190.80



7. Present balance owing to senior lienholder(s) plus junior consensual liens on petition date excluding
   any precomputed interest or other unearned charges: $          199,190.80        .

8. The description of nature and amount of exemptions impaired:
    Impaired homestead exemption in the amount of $40,000




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9. Other facts relevant in determining whether Motion should be granted:
    None


10. In light of the foregoing, and pursuant to 11 U.S.C. § 522(f)(1)(A), debtor is entitled to avoid the lien
    referenced above            in full so that it no longer remains a lien against debtor’s real property or
           in the amount of $                      so that it remains a lien against debtor's real property in the
    amount of $                  .

                                                  /s/ Ted A. Troutman                                  844470
                                                  Debtor’s or Debtor’s Attorney’s Signature              OSB #
                                                  5075 SW Griffith Dr., Suite 220, Beaverton OR 97005
                                                  Address
                                                  (503) 292-6788
                                                  Telephone Number




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